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10                         UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
12
          UNITED STATES OF AMERICA,                     Case No. 22-cr-01152-BAS
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                                     Plaintiff,         ORDER GRANTING IN PART
14                                                      AND DENYING IN PART
                                                        QUALCOMM’S MOTION TO
15             v.                                       QUASH
16        KARIM ARABI, et al.,                          (ECF No. 293)
17                                Defendants.
18

19

20   I.      BACKGROUND
21           A.     The Government’s Allegations
22           According to the Superseding Indictment, Defendant Karim Arabi was
23   employed at Qualcomm from 2007 to 2016. (Indict. ¶ 1, ECF No. 242.) As such, he
24   was bound by agreements that any intellectual property he created during his
25   employment belonged to Qualcomm. (Id.)
26           Arabi is an engineer who specialized “in the ‘Design for Test’ (or ‘DFT’) field
27   of the microchip sector.” (Indict. ¶ 1.) The Indictment charges that, while employed
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 1   at Qualcomm, Arabi helped to found Abreezio, hand-picking codefendant Sanjiv
 2   Taneja as CEO and codefendant Bradley Quinton as CTO. (Id. ¶¶ 3, 16.)
 3          “Abreezio was a newly-formed technology start-up company based in
 4   Sunnyvale, California.” (Indict. ¶ 6.) Defendants created Abreezio “as a vehicle to
 5   commercialize new DFT technology provisionally patented by Arabi.” (Id.) Arabi
 6   filed “provisional patents for Abreezio’s core DFT technology, falsely listing
 7   [Defendant] Sheida [his sister] as its true inventor while concealing his own primary
 8   role.” (Id. ¶ 16(a).) Defendants conducted various schemes to impersonate Sheida
 9   and to hide her true identity. (Id. ¶ 16.)
10          In addition, Arabi provided Defendants Taneja and Quinton with sensitive,
11   internal information about Qualcomm’s existing DFT technology and who to contact
12   at Qualcomm to help fine-tune Abreezio’s marketing pitch. (Indict. ¶ 16(l), (m).)
13          On October 30, 2015, Qualcomm finalized a deal to purchase Abreezio and its
14   DFT technology for over $150 million. (Indict. ¶ 12.) During the due diligence for
15   this purchase, Defendants allegedly concealed Defendant Shokouhi’s role in
16   Abreezio’s formation to avoid scrutiny from Qualcomm’s due diligence staff. (Id.
17   ¶ 16(o).) Additionally, Defendants coordinated responses to questions asked by
18   Qualcomm during the due diligence inquiries to hide the roles of Arabi and Shokouhi
19   in Abreezio’s formation. (Id. ¶ 16(s).) Defendants misrepresented to Qualcomm
20   during the Abreezio purchase that Abreezio was the sole and exclusive owner of the
21   technology and that everyone involved in the creation and development of Abreezio’s
22   intellectual property had been truthfully disclosed. (Id. ¶ 16(u).) Finally, the
23   Government charges that Arabi and his codefendants provided false discovery
24   responses during the civil litigation that ensued to disguise Arabi’s role in Abreezio.
25   (Id. ¶ 16(v).)
26          B.        Procedural History
27          In 2023, Arabi issued a sweeping Rule 17(c) subpoena to Qualcomm. The
28   subpoena requested, for example, the personnel file of any Qualcomm employee who
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 1   had any relationship with Arabi while he worked at Qualcomm, all Qualcomm’s
 2   internal incentive programs to award whistleblowers without any time limitation, and
 3   all documents related to the Abreezio purchase even though Arabi had already
 4   obtained thousands of these documents in discovery. (ECF No. 133.)
 5         Qualcomm filed a Motion to Quash (ECF No. 150), which was largely granted
 6   by the Court (ECF No. 183). Specifically, the Court covered at great length Arabi’s
 7   requests for interviews conducted by Qualcomm as part of its internal investigation.
 8   Ultimately, the Court found: (1) Arabi already appeared to have obtained most of
 9   these interviews—or at least summaries of the interviews—in discovery from the
10   Government; (2) there was no requirement that impeachment material be produced
11   pursuant to a Rule 17(c) subpoena; and (3) without specific showings of the necessity
12   of the interviews, the vast majority of the requests were nothing but “a fishing
13   expedition.” (Id.)
14         Undaunted, Arabi filed a second request for a Rule 17(c) subpoena, asking for
15   many of the same items requested in the last subpoena, but adding a request for
16   “Abreezio’s source code and revision control repository.” (Subpoena, ECF No. 264,
17   Ex. 16.) The Court granted in part and denied in part this additional subpoena
18   request, denying the request for internal interviews of all but five employees:
19   Mansour, Nelles, Quinton, Somwal, and Thompson. (ECF No. 265.) In addition, the
20   Court granted Arabi’s request for production of (1) “all post-acquisition reviews and
21   reports assessing the fair market value of the IP Qualcomm acquired in the Abreezio
22   acquisition”; (2) a privilege log identifying all documents withheld by Qualcomm in
23   response to the Government’s grand jury subpoena and in response to the Court’s
24   previously issued Rule 17(c) subpoena; and (3) “all documentation regarding any
25   preservation or legal hold notices issued by Qualcomm with respect to Abreezio.”
26   (ECF No. 265 (referencing Subpoena, Requests No. 5, 7–9).) The Court denied all
27   other requests. (Id.)
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 1         Arabi filed a Motion for Reconsideration, focusing solely on the Court’s denial
 2   of the subpoena with respect to the source code and revision control repository. (ECF
 3   No. 280.) The Court allowed the subpoena to issue. (ECF No. 290.) Qualcomm
 4   now has filed a Motion to Quash all of the new subpoena requests. (ECF 293.) Arabi
 5   responds (ECF No. 306), Qualcomm replies (ECF No. 304), and Arabi files a
 6   Surreply (ECF No. 310).
 7         For the reasons stated below, the Court grants in part and denies in part the
 8   Motion to Quash. (ECF No. 293.)
 9   II.   ANALYSIS
10         The Court adopts the summary of law from its ruling on the previous Motion
11   to Quash. (ECF No. 183.) Specifically, the Court notes that a party moving for a
12   subpoena pursuant to Rule 17(c) must show (1) relevancy, (2) admissibility, and
13   (3) specificity. United States v. Nixon, 418 U.S. 683, 700 (1974). Even if the party
14   issuing the subpoena meets each of these requirements, the court may quash the
15   subpoena “if compliance would be unreasonable or oppressive.” Fed. R. Crim. P.
16   17(c)(2).
17         The Court addresses each of the outstanding subpoena requests below.
18         A.     Interviews from Internal Investigation
19         Arabi subpoenas five witness interviews conducted by Qualcomm as part of
20   its internal investigation. The Court largely disposed of this issue in its ruling on the
21   last Motion to Quash. (ECF No. 183.) And, again, the Court adopts the rationale in
22   this prior order. With respect to the specific witness interviews requested this time
23   by Arabi, the Court finds: (1) Arabi appears to have already received from the
24   Government much of this material or at least outlines of the interviews, (2) Arabi
25   fails to show what he is allegedly missing and what the missing interviews might
26   provide in the way of admissible or only helpful information, and (3) Arabi glosses
27   over the requirement that the requested material be admissible.
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 1         The interviews are clearly hearsay. Arabi argues for those witnesses who are
 2   unavailable, they are admissible under Federal Rules of Evidence 804(b)(1) and 807.
 3   The Court disagrees. Rule 804(b)(1) applies to former testimony. There is no
 4   suggestion that any of the witnesses testified at a prior trial, hearing, or lawful
 5   deposition. Nor is there any suggestion that the Government, who at the time was
 6   not prosecuting Arabi, had any motivation or opportunity to question any of these
 7   witnesses. The prior interviews are also not admissible under the residual exception.
 8   There is no proof that these interviews were particularly trustworthy. In fact, one is
 9   offered against an individual who has now been indicted and may have been
10   motivated to cover his own involvement.
11         To the extent Arabi argues the interviews may contain impeachment material,
12   as discussed in the last order, this is insufficient to require production under Rule
13   17(c). United States v. Fields, 663 F.2d 880, 881 (9th Cir. 1981). However, as the
14   Court did in the last ruling, the Court will order Qualcomm to produce any interviews
15   of potential witnesses Duane Nelles, Hiten Somwal, and Jim Thompson to the Court
16   for in camera review. To the extent Qualcomm claims a privilege applies to any of
17   these interviews, it shall submit a log containing a detailed description of the basis
18   for any privilege. If any of these witnesses testify at trial, the Court will assess
19   whether the interviews should be produced for impeachment material.
20         Since Defendant Quinton is currently under indictment and in Canada facing
21   extradition proceedings, he is unlikely to be a witness at trial subject to impeachment,
22   so the Court will not require production of his interviews. And Qualcomm responds
23   that it never interviewed Ziad Mansour, so there are no documents responsive to this
24   request. Hence, the Court grants in part and denies in part the Motion to Quash the
25   request for witness interviews.
26         B.     Source Code
27         Arabi requests Qualcomm produce the source code and revision control
28   repository for the DFT technology that was part of the Abreezio transaction in 2015.
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 1   He also provides a defense theory that he claims will be supported by looking at the
 2   source code and related metadata from the repository.
 3         Arabi, however, fails to meet the initial hurdle of relevancy. At best, the
 4   requested information will show whether the source code that served as the basis for
 5   the initial provisional patents was modified and who key-stroked the requests to
 6   modify it. However, looking at the commit history or version control for the source
 7   code will not negate any of the allegations in the Superseding Indictment, notably:
 8         (1) Defendants Arabi and Shokouhi helped found Abreezio. Arabi hand-
 9             picked the CEO and CTO.
10         (2) Arabi filed provisional patents for Abreezio’s core DFT technology,
11             falsely listing Defendant Sheida as its true inventor. Even if this core
12             technology was largely modified, that would not impact the allegation that
13             Arabi falsely listed his sister as the original inventor.
14         (3) Arabi and his codefendants used various schemes to impersonate Sheida
15             and changed her name on documents to hide her identity.
16         (4) Arabi provided Taneja and Quinton with sensitive internal information
17             about Qualcomm’s existing DFT technology.
18         (5) Arabi and his codefendants concealed Shokouhi’s role in Abreezio’s
19             formation to avoid scrutiny from Qualcomm’s due diligence staff.
20         (6) Arabi and his codefendants coordinated responses to questions asked by
21             Qualcomm during the due diligence inquiries to hide the roles of Arabi and
22             Shokouhi in Abreezio’s formation.
23         (7) Defendants misrepresented to Qualcomm during the Abreezio purchase
24             that Abreezio was the sole and exclusive owner of the technology, and
25             everyone involved in the creation and development of Abreezio’s
26             intellectual property had been truthfully disclosed.
27         Hence, even if the Court assumes that the source code repository would show
28   the code was heavily edited by individuals other than Arabi, that will not negate the
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 1   allegations in the Superseding Indictment. For instance, changes to the source code
 2   do not undermine the allegations that Arabi concealed his involvement from
 3   Qualcomm and that Qualcomm would not have completed the purchase had it known
 4   about Arabi and Shokouhi’s role in Abreezio. Thus, the Court ultimately finds Arabi
 5   does not meet his burden of showing review of the source code repository would be
 6   relevant.
 7         Furthermore, the Court finds production would be unreasonable and
 8   oppressive. Qualcomm outlines the steps it would take to access the source code
 9   repository, which is archived on magnetic tape at an off-site location of its vendor,
10   Iron Mountain. (Declaration of Byron Yafuso ¶ 8, ECF No. 293-4.) Qualcomm
11   submits that restoring the magnetic media would be an expensive, time-consuming
12   process. (Id.) Qualcomm also explains why producing the repository showing
13   changes to the source code “would be more burdensome to Qualcomm than even past
14   cases involving inspection of [other] source code itself.” (Id. ¶ 9; see also Yafuso
15   Suppl. Decl. ¶¶ 12–15, ECF No. 304-1.) Although Arabi insists source code
16   management software is readily available to soften Qualcomm’s burden, the Court
17   ultimately finds that production would be unreasonable and oppressive, particularly
18   in the light of the fact that the production would produce at best marginally relevant
19   information.
20         Therefore, the Court finds it is appropriate to quash the subpoena with respect
21   to the source code and repository files.
22         C.       Reviews and Reports Assessing Fair Market Value of IP Post-
23                  Acquisition
24         In United States v. Milheiser, 98 F.4th 935 (9th Cir. 2024), the Ninth Circuit
25   explained that wire fraud requires a deceptive scheme to deprive the victim of the
26   nature of the bargain, usually price, quality, or other essential aspects. It is not
27   sufficient that the scheme deprived the victim of intangible interests unconnected to
28   property.   Id. at 942.      Depriving a company of accurate information alone is
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 1   insufficient for federal wire fraud. Id. Loss of a right to make an informed business
 2   decision is insufficient for federal wire fraud. Id. In other words, if Defendants
 3   tricked Qualcomm into entering into a transaction but nonetheless gave Qualcomm
 4   exactly what it asked for and charged Qualcomm exactly what it agreed to pay, there
 5   is not federal wire fraud. Id., at 944.
 6         Arabi requests “all post-acquisition reviews and reports assessing the fair
 7   market value of the IP Qualcomm acquired in the Abreezio acquisition.” (Subpoena,
 8   Request No. 5.) Arabi argues that the real value to Qualcomm of the Abreezio
 9   acquisition was not the patent applications but the DFT Breeze software tools,
10   developed by individuals other than Arabi, along with the key persons from Invionics
11   who joined Qualcomm as part of the Abreezio acquisition.
12         The Government charges that Qualcomm would not have bought Abreezio
13   because its value came from Arabi’s patents. If, however, evidence shows that the
14   true value of Abreezio was not the provisional patents allegedly developed by Arabi,
15   but some other aspect of Abreezio—for example, key personnel Qualcomm could
16   not get otherwise—and if the evidence shows this non-Arabi or provisional patent-
17   related value was worth what Qualcomm paid, then this would provide Arabi with a
18   valid defense under Milheiser.
19         However, what is key is not what the value of Abreezio became post-
20   acquisition. The key is what the value was to Qualcomm at the time it made the
21   acquisition in October 2015: what did Qualcomm think it was bargaining for and
22   what did it actually get? Therefore, to the extent Arabi is requesting reports detailing
23   the value Abreezio obtained after the acquisition, this request is denied as irrelevant.
24   For example, if after the acquisition, Qualcomm found that the Invionics employees
25   added much greater value than anticipated and ultimately this made the acquisition
26   worthwhile, this post-acquisition increase in value is irrelevant. However, to the
27   extent any reports exist that detail the value to Qualcomm of the Abreezio acquisition
28   at the time of acquisition, the request is granted.
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 1          D.    Privilege Logs
 2          The Court previously granted Arabi’s request that Qualcomm produce any
 3   privilege logs of documents withheld by Qualcomm in response to the earlier Rule
 4   17(c) subpoena. This order extends to the documents withheld by Qualcomm
 5   pursuant to this order as well.
 6          In addition, the Court grants Arabi’s request for a privilege log of any
 7   documents withheld by Qualcomm in response to the Government’s grand jury
 8   subpoena. To the extent this has not already been produced to the Government,
 9   Qualcomm is ordered to produce this log to Arabi.
10          E.    Legal Holds and Preservation Notices
11          Arabi requests all documentation regarding any preservation or legal hold
12   notices issued by Qualcomm with respect to Abreezio. (Subpoena, Request No. 9.)
13   Arabi fails to show why these notices would be relevant. Therefore, the Court grants
14   Qualcomm’s Motion to Quash with respect to this request.
15   III.   CONCLUSION
16          In light of the foregoing, the Court ORDERS Qualcomm to produce—to the
17   Court in camera—all materials, notes, recordings, transcripts, and other
18   documentation of Qualcomm’s interviews with Duane Nelles, Hiten Somwal, and
19   Jim Thompson, but only to the extent that these items have not already been produced
20   to the Government.
21          In addition, the Court orders Qualcomm to produce any reviews and reports
22   assessing the fair market value of the Abreezio IP at the time of acquisition. To the
23   extent this has not already been produced to the Government, the Court also orders
24   Qualcomm to produce any privilege log identifying all documents withheld by
25   Qualcomm in response to the Government’s grand jury subpoena.
26          If Qualcomm claims a privilege applies to any responsive documents, it shall
27   also submit a log containing a detailed description of the basis for any privilege.
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 1   Qualcomm shall lodge these items with the Court by delivering them to chambers on
 2   electronic media no later than January 10, 2025.
 3         With respect to all other requested items, the Motion to Quash is granted.
 4   Thus, the Motion to Quash (ECF No. 293) is GRANTED IN PART and DENIED
 5   IN PART.
 6         IT IS SO ORDERED.
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 8   DATED: December 19, 2022
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